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                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                       PANAMA CITY DIVISION

 DEBORAH RICE,



              Plaintiff,
                                            CIVIL ACTION NO. 5:21-cv-00135

        v.

 AZIYO BIOLOGICS, INC., ET AL.

               Defendants.


                  JOINT STATUS REPORT ON DISCOVERY

      All parties jointly submit this March 2022 discovery status report to update

the Court on the parties’ efforts.

      Plaintiff served Interrogatories and Requests to Produce on Medtronic

Sofamor Danek USA, Inc. and SpinalGraft Technologies, LLC (collectively,

“Medtronic”) and Aziyo Biologics, Inc. (“Aziyo”) on January 6, 2022. Plaintiff

served Interrogatories and Requests to Produce on DCI Donor Services, Inc. and

New Mexico Donor Services (collectively, “Donor Services”) on January 5, 2022.

The Donor Services Defendants served Plaintiff on January 20, 2022 with

Interrogatories and Requests to Produce. Plaintiff has responded to Donor Services’

written discovery and is producing documents responsive to Donor Services’

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Requests to Produce on a rolling basis. Donor Services has responded to Plaintiff’s

written discovery and is producing responsive documents on a rolling basis.

Plaintiff has granted the other Defendants additional time to respond to Plaintiff’s

written discovery.

      Written discovery has still not yet been served on VRL-Eurofins and VRL-

Eurofins has not yet served written discovery on Plaintiff. VRL-Eurofins, a provider

of certain testing services, contends that it is not a proper party in this lawsuit. VRL-

Eurofins is working with the parties to obtain written confirmation thereof from

Aziyo and Donor Services acceptable to Plaintiff such that Plaintiff will dismiss

Eurofins at this juncture. VRL-Eurofins has filed a motion to dismiss based on lack

of jurisdiction (ECF No. 52). If VRL-Eurofins’s motion is denied or if VRL-Eurofins

is unable to obtain written confirmation regarding its alleged non-involvement in

this case, Plaintiff and VRL-Eurofins will proceed with serving written discovery

and scheduling depositions. In the interim, VRL-Eurofins has agreed to informally

produce certain relevant documents that will allow Plaintiff to better evaluate the

current claims against VRL-Eurofins.

      The Donor Services Defendants have requested dates for Plaintiff’s deposition

and Plaintiff has requested dates for a 30(b)(6) deposition of the Donor Services

Defendants. The parties are currently working to schedule these depositions with the

anticipated goal of beginning depositions in April.


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      The parties continue to engage in extensive and productive discussions about

the establishment of a mediation program to address and attempt to resolve all of the

involved cases. Specifically, the Medtronic defendants and Aziyo have agreed to

and offered a mediation program, which Plaintiff Deborah Rice (and most other

plaintiffs across the country) have agreed to participate in. The mediation program

will consist of multiple rounds of mediations, in order to accommodate mediating

over 80 individual cases. The first round of mediation is set to begin in late April

and additional mediations will take place later this year. Because of her current

condition, Plaintiff will not be participating in the first round of mediation and

instead will participate in mediation at a yet to be determined date later this year. At

this time, only Plaintiff, Aziyo, and the Medtronic Defendants have agreed to

participate in the mediation program.


                                               Respectfully Submitted,


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Dated: March 4, 2022


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